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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

NETLIST, INC.,                      )
                                    )
            Plaintiff,              )
                                    )   Case No. 2:22-cv-293-JRG
      vs.                           )
                                    )   JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;        )   (Lead Case)
SAMSUNG ELECTRONICS AMERICA,        )
INC.; SAMSUNG SEMICONDUCTOR         )
INC.,                               )
                                    )
            Defendants.             )

NETLIST, INC.,                      )
                                    )
            Plaintiff,              )
                                    )
                                        Case No. 2:22-cv-294-JRG
      vs.                           )
                                    )
                                        JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.;            )
MICRON SEMICONDUCTOR                )
PRODUCTS, INC.; MICRON              )
TECHNOLOGY TEXAS LLC,               )
                                    )
            Defendants.             )

              PLAINTIFF NETLIST, INC.’S OPPOSITION TO
        SAMSUNG’S MOTION TO COMPEL INFORMATION REGARDING
                       ESSENTIALITY (DKT. 128)
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        Samsung’s motion asking Netlist to answer contentions interrogatories and reveal its expert

opinions at this stage of litigation is inappropriate and therefore must be denied.

I.      FACTUAL BACKGROUND

        Netlist is not withholding any information in its possession or otherwise attempting to evade

discovery. As explained in Netlist’s written discovery response, Netlist has not formed an opinion on

whether any of the asserted claims is essential to a required section of any JEDEC specifications:

        INTERROGATORY NO. 21: For each Asserted Claim of each of the Asserted Patents
        that You contend is essential to a standard(s), describe in complete detail all factual and legal
        bases supporting Your contention, including the identification of any commitments made by
        any person or entity to any standard setting organization regarding one or more of the asserted
        patents, related patents, and/or related applications, how each asserted claim is practiced or
        addressed in the standard and which particular portion of each standard is covered by one or
        more of the Asserted Patents, and whether the patent is or is not subject to any limitation on
        the terms by which it may be licensed including any requirement that it be licensed on
        reasonable and/or non-discriminatory terms (e.g., FRAND terms) including but not limited
        to Your, the named inventors’, and Your predecessor’s involvement in the Standard(s) making
        and/or declaring process(es).
        [NETLIST’S] RESPONSE TO INTERROGATORY NO. 21: . . . Netlist responds that:
        Expert analysis is required to determine whether any of the claims meet the essentiality
        standards specified by the JEDEC, even though Netlist does not believe there are
        commercially acceptable alternatives to the inventions. Information regarding RAND
        commitments made by Netlist to JEDEC is equally accessible to Samsung and can also be
        found in documents Netlist produced bearing bates numbers . . . .
        Netlist further responds that: The JEDEC Patent Policy defines “Essential Patent Claims”:
        Essential Patent Claims: Those Patent claims the use of which would necessarily be
        infringed by the use, sale, offer for sale or other disposition of a portion of a product in order
        to be compliant with the required portions of a final approved JEDEC Standard.
        NOTE Essential Patent Claims do not include Patent claims covering aspects that are not
        required to comply with a JEDEC Standard, or are required only for compliance with sections
        that are marked “example,” ‘‘non-normative,” or otherwise indicated as not being required for
        compliance, or related to underlying enabling technologies or manufacturing techniques not
        specified in the standard. Id. at 31. As provided in the JEDEC Patent Policy, a patent claim is
        essential only if it is necessarily infringed in order to be in compliance with a required portion
        of a JEDEC standard.
        However, the policy also notes that not everything identified in a JEDEC standard is required,
        and thus, a patent claim that implicates optional portions of a standard or examples or
        reference designs would not be a potentially essential patent as defined by JEDEC. Netlist has
        not conducted any expert analysis on what sections of the JEDEC standards are required or
        optional. Nor has Samsung identified any portion of Netlist’s contentions that asserted that

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        Samsung’s infringement was based solely on the “required” portions of any JEDEC standard
        or that used the term “essential.” Discovery is still ongoing. Netlist is actively seeking
        discovery from Samsung and third parties regarding the operation of Samsung’s accused
        infringing products and components therein, including source code materials and intends to
        supplement its infringement contentions based on newly discovered information.
        INTERROGATORY NO. 23: Identify each element of each Asserted Claim, if any, that
        You contend is not required by the applicable JEDEC Standard(s), and for each such element,
        describe Your contention in complete detail, including all factual and legal bases supporting
        Your contention, including how the JEDEC Standard(s) can be practiced without practicing
        the claim element.
        [NETLIST’S] RESPONSE TO INTERROGATORY NO. 23: . . .Netlist responds as
        follows: The determination of whether a claim of the patents-in-suit meets JEDEC’s definition
        of essentiality requires expert analysis to compare the mandatory technical requirements of the
        JEDEC specification to the proper scope of the claim as defined by claim construction. No
        claim construction order has been entered in this Action. The claim construction hearing is
        set to occur on October 5, 2023. Netlist has not yet performed an expert analysis to determine
        whether or not any of the asserted claims meet JEDEC’s definition of standard essentiality.
        To the extent necessary, they will be produced in the due course in accordance with the
        schedule of expert discovery. Netlist, however, believes that the claims are necessary to
        produce a commercially viable product.

As Samsung admitted, its Requests for Admission also seek Netlist’s position on standard essentiality.

While raising these objections and responses, Netlist also agreed to supplement its responses as

discovery continues.

        Samsung states that it only asks the Court to compel Netlist to provide “factual information

regarding essentiality.” Dkt. 128 at 7. Not so. The motion is not seeking factual information on

whether Netlist employees have previously identified the patents as essential, and if so, when and in

what context. Instead, it asks Netlist to form and disclose its “position on essentiality” and requests

that Netlist must be held to whatever position it takes at this early stage of litigation. Id. at 6 (asserting

discovery is proper because “Netlist can compare the claims to the JEDEC standards to determine its

contention on essentiality based on its interpretation of the claims as the patentee”); id. at 6 (lamenting

“Netlist’s Refusal to Provide Its Position on Essentiality”); id. at 2 (asserting Netlists’ change of

position in Samsung I Action impacted Samsung’s litigation strategy). Samsung’s motion to compel

answers to contentions interrogatories and premature expert opinions should be denied.


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II.     ARGUMENT

        A.      Samsung Cannot Compel Answers to Contentions Interrogatories at this Stage
                of Litigation and Discovery

        Contention interrogatories have been defined as interrogatories that ask “a party to state what

it contends, state whether it makes a specified contention, state all the facts upon which it bases a

contention, take a position and explain or defend the position concerning how the law applies to fact,

or state the legal or theoretical basis for a contention.” Huawei Techs. Co. v. Huang, 2018 WL 6329082,

at *3 (E.D. Tex. Dec. 4, 2018). Both the Federal Circuit and courts in this District have “consistently

recognized that answers to contention interrogatories change over time as theories of liability and

non-infringement crystallize. Thus, answers to such interrogatories are often best left until the close

of discovery.” Kaist IP US LLC v. Samsung Elecs. Co., 2017 WL 9937763, at *1 (E.D. Tex. Dec. 15,

2017); O2 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 467 F.3d 1355, 1365 (Fed. Cir. 2006) (“Answers

to [contention] interrogatories are often postponed until the close of discovery.”); see also Papst Licensing

GmbH & Co., KG v. Apple, Inc., 2017 WL 11638426, at *5 (E.D. Tex. June 16, 2017) (denying motion

to compel “contentions with respect to validity over the prior art and how each asserted claim satisfied

the requirements of 35 U.S.C. § 112” because the “requests are premature in light of the impending

disclosure of those contentions during expert discovery”).

        Samsung’s discovery requests are contentions interrogatories as they ask Netlist to disclose its

contentions as to whether any of its asserted claims is essential to a required section of JEDEC

standards. See supra at 1-2 (“describe in complete detail all factual and legal bases supporting Your

contention”); (“for each such element, describe Your contention in complete detail”); see Huawei, 2018

WL 6329082, at *3. Discovery in this action is still ongoing: no fact witness deposition has been

scheduled; no Markman hearing will be held until September 26; and no claim construction order has

been entered.     Dkt. 133 (Markman hearing set for September 26, 2023).                 Because Netlist’s



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understanding of the scope of the asserted claims, JEDEC specifications, and the accused infringing

products will evolve as claim construction and discovery progress, it is improper to force Netlist to

disclose—and be held to—its position as to standard essentiality at this stage of litigation where no

Markman hearing has been held and no claim construction order has been entered by this Court. By

way of example, during the previous litigation, Netlist, Inc. v. Samsung, No. 21-cv-463 (E.D. Tex.)

(“Samsung I Action”), the parties relied on witness testimony and expert opinions to form positions

on standard essentiality. See, e.g., Dkt. 550 ¶¶ FF79-84; 90-92 (E.D. Tex. Aug. 11, 2023) (Memorandum

Opinion and Order) (discussing testimony of Samsung witnesses Seung-Mo Jung and Kyungsoo Park

as evidence showing whether specific sections of JEDEC standards are optional).

        The opinion from Barnes & Noble, Inc. v. LSI Corp., 2013 WL 655023, at *1 (N.D. Cal. Feb. 21,

2013) is illustrative. There, defendant LSI moved to compel the plaintiff B&N to produce a more

thorough answer as to its interrogatory seeking “the full factual and legal basis for B&N’s defense that

LSI’s patents are unenforceable.” Id. Specifically, LSI argued—similar to Samsung’s argument here:

        B&N’s unenforceability defense turns on what LSI’s predecessor did or did not disclose to
        standard setting organizations (“SSOs”) about its existing patents. See id., Exs. 1 & 2. LSI
        argues that B & N ought to identify the patent claims pending at the time of the alleged
        non-disclosure that it contends were essential to the practice of the standard under
        discussion before the SSOs. Id. at 1. It says that B & N can do this because it has the patent
        histories for the patents at issue and the relevant standards submissions. Id.

Id. (emphasis added). The court rejected LSI’s arguments and denied its motion to compel because

“LSI did not explain why disclosure now would contribute meaningfully [to this case] (other than to

make discovery easier now)” and “[d]iscovery is ongoing, and given courts’ reluctance to compel early

responses to contention interrogatories, the court does not see grounds for doing it now (as opposed

to later).” Id. at 2. Similarly, here, Samsung’s request for an early answer to contentions interrogatories

should be denied.

        B.      Samsung Should Not Be Allowed to Seek Premature Expert Opinions



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        “A party is not entitled to obtain early disclosure of expert opinions via interrogatory.”

Promethean Insulation Tech. LLC v. Sealed Air Corp., 2015 WL 11027038, at *2 (E.D. Tex. Oct. 13, 2015);

Maxell Ltd. v. Apple Inc., 2019 WL 7905454, at *3 (E.D. Tex. Nov. 13, 2019) (same).

        As explained in Netlist’s written responses, Samsung’s discovery requests ask Netlist at least

to: (1) construe the terms of the asserted claims, (2) analyze the standards to determine which sections

are “required” as opposed to “optional,” and (3) compare Netlist’s claim language to such required

sections of JEDEC standards—all of these require expert opinions and legal conclusions. Samsung’s

interrogatory requests also broadly ask Netlist to disclose all such “factual and legal bases” in support

of Netlist’s contention, which implicates expert analysis. Indeed, in the Samsung I Action, Samsung

itself relied heavily on its experts’ opinion and testimony to explain what “standard essential” means

under JEDEC policy and whether Netlist’s patents-in-suit are standard essential.                  E.g. id.

Memorandum Opinion and Order ¶¶ FF66-67 (quoting testimony of Samsung’s expert Mr. Halbert

and Netlist’s expert Mr. Gillingham to explain the meaning of “standard essential patents” under the

JEDEC Patent Policy); id. Bench Trial Tr. at 100:14-16, 22-25 (Samsung’s technical expert Dr.

McAlexander explaining tri-state buffer is not required by the JEDEC specification); id. (McAlexander)

at 93:20-22 (Dr. McAlexander testifying that the asserted ’339 patent is not standard essential).

        Samsung does not dispute that claim construction and comparison between the claims and

the JEDEC specifications are required for Netlist to disclose its essentiality position. See, e.g., Dkt.

128 at 6 (Samsung asserting “Netlist can compare the claims to the JEDEC standards to determine its

contention on essentiality based on its interpretation of the claims as the patentee”). Samsung instead

argues that Netlist must settle and disclose its theory and position now because Netlist had “compared

the Samsung Accused Instrumentalities to the asserted claims as evidence of alleged infringement”

and because Netlist had previously identified different patents as standard essential in other litigations.

Id. at 5-6. However, contrary to Samsung’s assertion, the Patent Local Rules do not require Netlist to


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disclose its position regarding standard essentiality early in a patent litigation. The fact that Netlist has

conducted such analysis for other patents not asserted in this Action by no means obligates Netlist to

do the same here. Further, unlike infringement analysis, Netlist’s standard essentiality position is not

required to establish a prima facie case of infringement.

        To be clear, the fact that Netlist asserts Samsung’s accused products infringe one or more

claims of Netlist’s patents based on features of Samsung products in compliance with certain sections

of the JEDEC specifications does not constitute a concession of standard essentiality or relevance of

JEDEC specifications. As Samsung’s own expert testified, discovery is necessary to determine which

sections of JEDEC standards are required instead of optional. Samsung I Action, Dkt. 550 ¶ FF66 (E.D.

Tex. Aug. 11, 2023) (Memorandum Opinion and Order) (“At the bench trial, Samsung’s JEDEC

expert, Mr. Halbert, testified that just because an infringing product is standard compliant does not

mean that the patent claim is necessarily essential. This is because JEDEC allows for product

differentiation between suppliers, and there are different ways of implementing the standard”). Netlist

has the right to choose to prove its infringement claims based on the functions and features of

Samsung’s accused products or its compliance with the JEDEC specifications as discovery progresses.

        C.      Samsung’s “Prejudice” Argument Lacks Merit

        Samsung asserts that it would suffer prejudice unless Netlist is now “compelled to provide its

position on standard essentiality” and is prevented from “shift[ing] courses throughout the case.” Dkt.

128 at 6. Samsung’s prejudice argument in an attempt to lock Netlist to a specific infringement theory

at this stage of litigation does not hold water.

        First, nothing here prevents Samsung from conducting its independent analysis as to the

essentiality of Netlist’s patents-in-suit and forming its damages calculation based on such

conclusion—and this is what Samsung did in the Samsung I Action, by relying on the testimony of

Samsung’s engineers, third-party discovery, and Samsung’s own experts’ opinions. Indeed, Samsung


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does not dispute that it has all the underlying facts needed to perform such analyses. Samsung’s

assertion that it will be “precluded from offering competing contentions on essentiality and the

availability of noninfringing alternatives, addressing any RAND obligations, and fully exploring

whether Netlist complied with its disclosures obligations to JEDEC” during fact or expert discovery

simply has no connection to reality. Any asserted “significant[] prejudice[]” Samsung would allegedly

incur because Samsung “develop[s] its rebuttal contentions on these issues for the first time after

seeing Netlist’s opening expert reports” would be Samsung’s own choice.

       Second, Samsung’s argument that it would be prejudiced if Netlist shifts course is incorrect. As

discussed above, courts consistently recognize the development of answers to contentions

interrogatories. Supra at 3. To the extent Samsung references to potential prejudice it allegedly

suffered in Samsung I, this Court has correctly found in the Memorandum Opinion and Order that

Netlist’s purported “position shift” did not constitute litigation misconduct; instead, “Samsung [has]

proceeded at its own risk by assuming that Netlist was still asserting a standards-based theory of

infringement” and Netlist’s position as to standard essentiality does not have an “immediate and

necessary relation to” Netlist’s patent infringement claims. See Samsung I Action, Dkt. 550 ¶¶ CC32-

37. In any event, by making it clear at the beginning of discovery that Netlist will rely on expert

opinions to form its standard-essentiality position, here, Netlist indeed eliminates any prejudice that

Samsung would potentially suffer based on its purported reliance on Netlist’s representations.

III.   CONCLUSION

       For the reasons stated above, Samsung’s Motion to Compel, Dkt. 128, should be denied.

Dated: September 6, 2023                         Respectfully submitted,

                                                 /s/ Jason Sheasby
                                                 Jason G. Sheasby

                                                 Samuel F. Baxter
                                                 Texas State Bar No. 01938000


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                                CERTIFICATE OF SERVICE

       I hereby certify that, on September 6, 2023, a copy of the foregoing was served to all counsel

of record via this Court’s CM/ECF system.

                                                      /s/ Yanan Zhao
                                                      Yanan Zhao




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